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                                   1                                 UNITED STATES DISTRICT COURT
                                   2                              NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4                                    RELATED CASE ORDER
                                   5
                                             A Notice of Related Cases has been filed that the following cases are related within the
                                   6   meaning of Crim. L.R. 8-1(b):
                                   7          CR19-0287 CRB                          USA v. Jose Arteaga-Vasquez, et al.

                                   8          CR19-0343 CRB                          USA v. Isa Cruz, et al.

                                   9          CR19-0367 CRB                          USA v. Eduardo Alfonso Viera-Chirinos, et al.

                                  10          CR19-0381 WHA                          USA v. Andy Reanos-Moreno, et al.

                                  11                                                ORDER
                                  12
Northern District of California




                                              The time for filing a statement to support or oppose the Notice has passed. On the basis of
 United States District Court




                                  13   the material submitted to the Court, as the Judge assigned to the earliest filed case, I find that the
                                       cases:
                                  14

                                  15          ( )     ARE NOT RELATED as defined by Crim. L.R. 8-1(b).
                                  16          ( )     ARE RELATED as defined by Crim. L.R. 8-1(b). I find, however, that
                                                      reassignment to me of the action(s) currently assigned to another judge is not
                                  17                  warranted.
                                  18          (X)     ARE RELATED as defined by Crim. L.R. 8-1(b). Pursuant to Crim. L.R. 8-1(e),
                                                      the Clerk of Court is ordered to reassign the later-filed action to the undersigned.
                                  19                  Counsel are instructed that all future filings are to bear the initials immediately
                                                      after the case number. All matters presently scheduled for hearing in the reassigned
                                  20                  case(s) are vacated and must be renoticed for hearing before the undersigned.
                                  21

                                  22          DATED: August 28, 2019

                                  23                                                    ______________________________________
                                                                                        CHARLES R. BREYER
                                  24                                                    United States District Judge
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